Case 1:15-md-02599-FAM Document 677 Entered on FLSD Docket 09/03/2015 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

                                          MDL No. 2599
                             Master File No. 15-02599-MD-MORENO

   IN RE: TAKATA AIRBAG PRODUCTS
   LIABILITY LITIGATION

   THIS DOCUMENT RELATES TO ECONOMIC
   DAMAGES TRACK CASES
   ____________________________________________/


    FUJI HEAVY INDUSTRIES, LTD.’S MOTION TO DISMISS PLAINTIFFS’ SECOND
   AMENDED CONSOLIDATED CLASS ACTION COMPLAINT, MOTION TO DISMISS
     THE AUTOMOTIVE RECYCLERS ASSOCIATION’S CLAIMS AND MOTION TO
   STAY THIS ACTION BASED UPON THE PRIMARY JURISDICTION OF THE NHTSA

          Pursuant to the Order entered August 28, 2015 (Dkt. No. 666), Defendant Fuji Heavy

   Industries, Ltd. (“FHI”) respectfully joins in and adopts the following Motions and requests the

   same relief on its behalf: (1) the Motion by Defendant Subaru of America, Inc. (“SOA”) to

   dismiss Plaintiffs’ Second Amended Consolidated Class Action Complaint, pursuant to Fed. R.

   Civ. P. 12(b)(6) and 9(b) (Dkt. Nos. 615, 617), (2) the Automotive Defendants’ Motion to

   Dismiss the Automotive Recyclers Association’s claims pursuant to Fed. R. Civ. P. 12(b)(6) and

   9(b) (Dkt. No. 609), and (3) the Motion to Stay this Action Based on the Primary Jurisdiction of

   the National Highway Traffic Safety Administration (Dkt. No. 610). As stated in SOA’s Motion

   (Dkt. No. 615), FHI, a Japanese corporation with its principal place of business in Tokyo,

   manufactured the Subaru Plaintiffs’ vehicles and sold them to SOA, the United States importer

   and distributor of the subject Subaru vehicles. In accordance with the Court’s Order, and for the

   sake of brevity, FHI respectfully adopts and incorporates herein by reference all of the grounds,
Case 1:15-md-02599-FAM Document 677 Entered on FLSD Docket 09/03/2015 Page 2 of 3



   arguments and documents submitted in support of SOA’s Motion to Dismiss, the Automotive

   Defendants’ Motion to Dismiss the Automotive Recyclers Association’s claims and the Motion

   to Stay this Action Based on the Primary Jurisdiction of the National Highway Traffic Safety

   Administration, and requests that the same relief be afforded to FHI.

   Dated: September 4, 2015.                           Respectfully submitted,

                                                        /s/ Stanley H. Wakshlag
                                                       Jeffrey L. Chase
                                                       jchase@herzfeld-rubin.com
                                                       Michael B. Gallub
                                                       mgallub@herzfeld-rubin.com
                                                       Herzfeld & Rubin, P.C.
                                                       125 Broad Street
                                                       New York, NY 10004
                                                       T: (212) 471-8500
                                                       F: (212) 344-3333
                                                       (admitted pro hac vice)

                                                       Stanley H. Wakshlag
                                                       shw@knpa.com
                                                       Robert D.W. Landon III
                                                       rdl@knpa.com
                                                       Kenny Nachwalter, P.A.
                                                       1100 Miami Center
                                                       201 South Biscayne Boulevard
                                                       Miami, FL 33131
                                                       Phone: (305) 373-1000
                                                       Fax: (305) 372-1861

                                                       Counsel for Fuji Heavy Industries, Ltd.
Case 1:15-md-02599-FAM Document 677 Entered on FLSD Docket 09/03/2015 Page 3 of 3



                                   CERTIFICATE OF SERVICE

          I hereby certify that on this on September 3, 2015, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF.


                                                /s/ Stanley H. Wakshlag
                                                Stanley H. Wakshlag
